             Case 3:14-cr-00224-MMA                        Document 80           Filed 06/02/14            PageID.147                        Page 1 of 3
     Ol\t,AO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
                Sheet I




                                               UNITED STATES DISTRICT COURT
                                                 SOUTHERN DISTRICT OF CALIFORNIA 14 JUN - 2 PH 12: 51
                                                                                                                    ,;'{'   1I   :,'   t;'" -.- "', ,--. "t' " : ) !"" '!"
                                                                                                                                                                  1


                     UNITED STATES OF AMERICA                                   JUDGMENT IN A CRIMINAE,C'ASJi;':, ~~i-(jt~ji!,
                                         v.                                     (For Offenses Committed On or After November 1, 1987)

                    AZAEL VIVEROS-NAVARRO                                       Case Number: 14CR0224 MMA
                                                                                                                                                             DE&
                   AKA AZIEL VIVEROS-NAVARRO
                                                                                 VICTOR MANUEL TORRES
                                                                                Defendant's Attorney
    REGISTRATION NO. 46957298

    o
    THE DEFENDANT:
    ~ pleaded guilty to count(s) ONE OF THE SUPERSEDING INFORMATION

    o     was found gUilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not gUilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                       Count
    Title & Section                           Nature of Offense                                                                                       Number(s)
18 USC 1956(h) and                     CONSPIRACY TO LAUNDER MONEY; CRIMINAL FORFEITURE                                                                1
1956(a)(2)(A); 18 USC 982
and 28 USC 2461 (c)




        The defendant is sentenced asprovided in pages 2 through              _3_ _ o fthis judgment. The sentence is imposed pursuant
 o
 to the Sentencing Reform Act of 1984.
      The defendant has been found not guilty on count(s)
                                                             ------------------------------------------------------
 ~ Count(s) UNDERLYING INDICTMENT                                                 is ~      areD dismissed on the motion of the United States.
 jgI Assessment: $1 00.00 WAIVED


  ~ Fine waived                                     o    Forfeiture pursuant to order filed                                      , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments impo~ this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material c~e iflthe defendant's economic circums




                                                                            HON. MICHAEL M. ANELLO
                                                                            UNITED STATES DISTRICT JUDGE



                                                                                                                                                           14CR0224 MMA
        Case 3:14-cr-00224-MMA                     Document 80      Filed 06/02/14        PageID.148          Page 2 of 3
AO 2458 (CASD) (Rev 4/14) Judgment in a Criminal Case
           Sheet 2  Imprisonment

                                                                                           Judgment   Page    2     of       3
 DEFENDANT: AZAEL VIVEROS-NAVARRO
 CASE NUMBER: 14CR0224 MMA
                                                         IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         TIME SERVED (59 DAYS)



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:

    o The defendant is remanded to the custody ofthe United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                   Da.m.     Dp.m.    on _ _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before ----------------------------------------------------------------
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                             RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                               to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                         UNITED STATES MARSHAL


                                                                   By
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                  14CR0224 MMA
           Case 3:14-cr-00224-MMA                     Document 80              Filed 06/02/14              PageID.149          Page 3 of 3
AO 245B (CASD) (Rev.4114) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                              Judgment-Page        1      of        3
DEFENDANT: AZAEL VIVEROS-NAVARRO                                                                      II
CASE NUMBER: 14CR0224 MMA
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
NO SUPERVISED RELEASE TO FOLLOW

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
[8J    The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
[8J    The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of 2000,.pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The detendant shall comply with the requirements ofthe Sex Offender Registration ana Notification Act (42 U.S.c. § 16901, et seq.) as directed
D      by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also com ply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officcr;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 II)     the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant's compliance with such notification requirement.

                                                                                                                                       14CR0224 MMA
